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               10
               11
                                          UNITED STATES DISTRICT COURT
               12
                                        CENTRAL DISTRICT OF CALIFORNIA
               13
               14
                       Skot Heckman, Luis Ponce, Jeanene         Case No. 2:22-cv-00047-GW-GJS
               15      Popp, and Jacob Roberts, on behalf of
                       themselves and all those similarly
               16      situated,                                 DEFENDANTS’ OPPOSITION TO
                                                                 PLAINTIFFS’ MOTION FOR
               17                        Plaintiffs,             DISCOVERY RELATED TO
               18                                                WHETHER A VALID
                       v.                                        ARBITRATION AGREEMENT
               19                                                EXISTS
                       Live Nation Entertainment, Inc., and
               20      Ticketmaster LLC,                         The Honorable George H. Wu
               21                        Defendants.
               22                                                Hearing Date: May 19, 2022
               23                                                Hearing Time: 8:30 a.m.
               24                                                Courtroom: 9D, 9th Floor
               25
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               28
                                                                               DEFS.’ OPP’N TO PLS.’ MOT. FOR
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                   1 I.     INTRODUCTION
                   2        We have been here before. This case is virtually identical to another case that
                   3 this Court sent to arbitration less than six months ago: Oberstein v. Live Nation
                   4 Entertainment, Inc., No. CV 20-3888, 2021 WL 4772885 (C.D. Cal. Sept. 20, 2021)
                   5 (Wu, J.). It is brought by the same plaintiffs’ counsel. The allegations and claims
                   6 are the same. The putative classes are the same. Indeed, with the exception of five
                   7 paragraphs that Plaintiffs’ counsel added at the beginning, the complaint is a nearly
                   8 word-for-word copy of the Oberstein complaint. Those five paragraphs reveal the
                   9 one thing that is “new” about this case: the arbitration provider.         Last year,
               10 Ticketmaster and Live Nation updated their Terms of Use (“Terms”) to select New
               11 Era ADR (“New Era”) as the default provider; by contrast, the prior version of the
               12 Terms (i.e., the one at issue in Oberstein) selected JAMS. Plaintiffs allege this single
               13 change makes the Terms unconscionable. Nothing else has changed since this Court
               14 held in Oberstein that Ticketmaster and Live Nation’s arbitration agreement is fully
               15 enforceable.       Consequently, this case presents a single, narrow question: can
               16 Plaintiffs get out of arbitration, despite their repeated agreement to it, simply because
               17 the Terms now select New Era as the arbitration provider?
               18           The law is clear that the answer is “no,” for all the reasons set forth in
               19 Ticketmaster and Live Nation’s motion to compel arbitration. Defs.’ Mot. to
               20 Compel Arb., ECF No. 30-1. Plaintiffs recognize this. They know that, as this Court
               21 has ruled multiple times now, their unconscionability challenge to the Terms has
               22 clearly and unmistakably been delegated to the arbitrator—not the Court. Oberstein,
               23 2021 WL 4772885, at *7; Dickey v. Ticketmaster LLC, No. CV 18-9052, 2019 WL
               24 9096443, at *8 (C.D. Cal. Mar. 12, 2019). And they know that, even if the Court
               25 were to consider that challenge—and review New Era’s publicly available rules and
               26 procedures—it would find nothing remotely sub-standard for the industry, let alone
               27 unconscionable, as the law requires. Since Plaintiffs cannot oppose Defendants’
               28 motion to compel arbitration on the law, or on what New Era’s rules and procedures
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                   1 actually say, they have once again filed a Hail Mary discovery motion. This time,
                   2 Plaintiffs seek broad discovery not only of Ticketmaster and Live Nation, but also
                   3 of New Era (a third party who, notably, has not been served—and thus is unable to
                   4 object to these requests). It’s a desperate attempt to conjure up something to support
                   5 their claim that the Terms’ selection of New Era is somehow unconscionable.
                   6         Tellingly, Plaintiffs are vague about exactly what discovery they are seeking,
                   7 but insist that the discovery is “limited.” Pls.’ Mot. for Discovery at 7, ECF No.
                   8 34-1 (“Mot.”). That’s false. Plaintiffs did not provide the Court with drafts of their
                   9 proposed discovery, but they did give them to Ticketmaster and Live Nation.
               10 They’re anything but limited. Plaintiffs’ proposed discovery consists of fifteen
               11 requests for production (five to Defendants, and ten to New Era), a Rule 30(b)(6)
               12 notice to Defendants spanning five separate topics, and Rule 30(b)(6) deposition
               13 subpoena to New Era spanning nine separate topics. See Decl. of T. O’Mara in Supp.
               14 of Opp’n to Mot. for Discovery (“O’Mara Decl.”) Exs. B-E. The information sought
               15 includes “all documents that refer or relate to mass arbitration,” “all documents that
               16 refer or relate to” the decision to select New Era, “all drafts” of New Era’s rules and
               17 procedures, “all documents used to advertise New Era,” “all documents used in
               18 connection with [New Era’s] efforts to raise capital,” and detailed quarterly data on
               19 New Era’s consumer arbitrations (including the amount of every claim and any
               20 award, all arbitrator fees, etc.). See id. Exs. B, D. The Court should not allow this
               21 fishing expedition.
               22            First, all of the discovery that Plaintiffs seek is targeted at their claim that the
               23 Terms are substantively unconscionable. That’s a fatal flaw. This Court has already
               24 held (multiple times) that the Terms contain a “delegation clause [which] clearly and
               25 unmistakably delegates arbitrability to the arbitrator.”              Oberstein, 2021 WL
               26 4772885, at *8. Consequently, the Court may not inquire into whether the Terms,
               27 as a whole, are unconscionable; that is for the arbitrator to decide. Id. As this Court
               28 plainly stated, “the Court’s unconscionability inquiry is limited to the delegation
                                                                                    DEFS.’ OPP’N TO PLS.’ MOT. FOR
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                   1 clause instead of the arbitration clause as a whole.” Id. And yet none of Plaintiffs’
                   2 challenges here—and none of the discovery sought—is specific to the delegation
                   3 clause; they all concern the Terms as a whole. Plaintiffs’ request for discovery into
                   4 enforceability issues that the Court has already ruled (under controlling law) it
                   5 cannot address should be denied. The Court’s analysis can and should stop here.
                   6        Second, even if the Court were to decide that it could adjudicate Plaintiffs’
                   7 challenge, no discovery is necessary to resolve it. The various “reasons” Plaintiffs
                   8 offer for the requested discovery amount to nothing more than objective
                   9 mischaracterizations of New Era’s rules and procedures, and vague accusations and
               10 innuendo—made on the “information and belief” of Plaintiffs’ own counsel—that
               11 there must be something troubling about New Era. Mischaracterizations and sheer
               12 speculation about an arbitration provider are not a free ticket to discovery. To the
               13 contrary, the law is clear that “the ultimate question is whether” the arbitration rules
               14 and procedures are “fair and impartial.” McGrath v. DoorDash, Inc., No. 19-cv-
               15 05279, 2020 WL 6526129, at *10 (N.D. Cal. Nov. 5, 2020). New Era’s rules and
               16 procedures are publicly available and speak for themselves; no discovery is needed
               17 for the Court to review them and determine whether they are fair and impartial.
               18           Third, the cornerstone of Plaintiffs’ motion—the case that Plaintiffs use as
               19 justification for the broad discovery they seek—does not support their position. It
               20 affirmatively undermines it. Plaintiffs insist that, in Abernathy v. DoorDash, Inc.,
               21 No. 3:19-cv-7545 (N.D. Cal.), the court “ordered precisely the kind of discovery that
               22 Plaintiffs here seek.” Mot. at 13. That’s incredibly misleading. As Plaintiffs are
               23 well-aware (given that their counsel also represented the plaintiffs in Abernathy), the
               24 Abernathy court quashed “precisely the kind of discovery that Plaintiffs here seek,”
               25 including the plaintiffs’ Rule 30(b)(6) notice and document requests for all
               26 documents that referred to mass arbitration, all drafts of the rules and procedures at
               27 issue, detailed data on arbitrations, etc. The court ultimately allowed only one
               28 category of documents (i.e., communications between the arbitration provider and
                                                                                DEFS.’ OPP’N TO PLS.’ MOT. FOR
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                   1 the defendant or defendant’s counsel) and one Rule 30(b)(1) deposition to proceed,
                   2 finding that the plaintiffs’ other document requests and Rule 30(b)(6) notice were
                   3 “overbroad” and “grossly beyond the pale.” See O’Mara Decl. Ex. H 16:12-18:17,
                   4 18:24-25. The same is true here.
                   5        Furthermore, the limited discovery that the Abernathy court did allow was
                   6 ultimately irrelevant to the question of forum bias (i.e., whether the arbitration
                   7 provider was a partial forum). When a court eventually considered the discovery
                   8 obtained and ruled on the forum bias issue, it held that, whatever that discovery
                   9 showed, it did not matter, because the ultimate question was whether the rules and
               10 procedures, as written, were fair and impartial. McGrath, 2020 WL 6526129, at
               11 *10. The court reviewed those rules and procedures, and found that they were. Id.
               12 Again, the Court here can and should do the same.
               13           The broad, open-ended discovery that Plaintiffs seek is neither appropriate nor
               14 necessary. Ticketmaster and Live Nation respectfully request that the Court deny
               15 Plaintiffs’ motion for discovery, and proceed to the motion to compel arbitration.
               16 II.       FACTUAL BACKGROUND
               17           A.    Oberstein
               18           On April 28, 2020, Plaintiffs’ counsel filed the Oberstein case against
               19 Defendants Ticketmaster and Live Nation. See Van Iderstine v. Live Nation Entm’t,
               20 Inc., No. 2:20-cv-03888 (C.D. Cal. Apr. 28, 2020), ECF No. 1; Oberstein v. Live
               21 Nation Entm’t, Inc., No. 2:20-cv-03888 (C.D. Cal. Jan. 27, 2021), ECF No. 81.
               22 Defendants moved to compel arbitration on the ground that the plaintiffs repeatedly
               23 agreed to the Terms, and the arbitration agreement therein, when they signed into
               24 their accounts and purchased tickets. Oberstein, ECF Nos. 25-28. In response, the
               25 plaintiffs sought extensive pre-arbitration discovery regarding “click data,” the
               26 content of the Terms, and the “design process” behind Defendants’ websites,
               27 claiming that such discovery was needed to oppose Defendants’ motion. Oberstein,
               28 ECF Nos. 29-1, 51-1. This Court ultimately allowed discovery that pertained to the
                                                                                DEFS.’ OPP’N TO PLS.’ MOT. FOR
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                   1 question of constructive notice—specifically, documents relating to the UX/UI
                   2 design process of Defendants’ websites, as it related to the Terms. Oberstein, ECF
                   3 No. 59 at 2-3, 5 (finding that such evidence could be relevant to conspicuousness).
                   4        For nine months, the parties engaged in protracted, extensive discovery—
                   5 during which Defendants collected more than 1 million documents from 18
                   6 custodians, reviewed about 10,000 documents, and sat for a 30(b)(6) deposition.
                   7 Oberstein, ECF No. 68 at 1. Despite all the time, effort, and cost, the plaintiffs’
                   8 fishing expedition uncovered nothing. And so, when the plaintiffs finally opposed
                   9 Defendants’ motion to compel arbitration in March 2021, their lead argument against
               10 arbitration was a purely legal one that they could (and should) have made a year
               11 before, without any discovery. Oberstein, ECF No. 92-1.
               12           On September 20, 2021, this Court rejected each of the Oberstein plaintiffs’
               13 arguments against arbitration, and granted Defendants’ motion to compel, finding
               14 that: (1) Defendants’ websites provided sufficient constructive notice of the Terms;
               15 (2) the authority to decide plaintiffs’ argument that their claims fell within an
               16 exception to the arbitration agreement had been clearly and unmistakably delegated
               17 to the arbitrator; and (3) the delegation clause itself was not unconscionable.
               18 Oberstein, 2021 WL 4772885, at *6-9. Plaintiffs appealed the Court’s order to the
               19 Ninth Circuit, and the parties are currently in the midst of briefing. See Oberstein v.
               20 Live Nation Entm’t, Inc., No. 21-56200 (9th Cir. Oct. 29, 2021), ECF No. 1.
               21           B.     This Case
               22           Meanwhile, on January 4, 2022, Plaintiffs filed the instant case, a carbon copy
               23 of Oberstein. ECF No. 1. Again, as in Oberstein, Defendants moved to compel
               24 arbitration on the ground that Plaintiffs had repeatedly agreed to the Terms when
               25 they signed into their accounts and purchased tickets. Defs.’ Mot. to Compel Arb.
               26 at 4-7, 11-13. Again, as in Oberstein, Plaintiffs informed Defendants that, before
               27 opposing Defendants’ motion, they intended to seek arbitration-related discovery.
               28 See ECF No. 35 ¶¶ 11-12. And they provided Defendants with their draft discovery
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                   1 requests (which have not been served). O’Mara Decl. Exs. B-E. But in contrast to
                   2 Oberstein, Plaintiffs do not seek any discovery related to constructive notice—
                   3 nothing concerning conspicuousness or assent to the Terms. They do not, because
                   4 Defendants’ websites indisputably continue to provide “sufficient constructive
                   5 notice as required for mutual assent,” as this Court ruled mere months ago.
                   6 Oberstein, 2021 WL 4772885, at *7. Absolutely nothing has changed that would
                   7 alter that conclusion—nor do Plaintiffs allege otherwise. Instead, Plaintiffs seek
                   8 broad discovery of the one thing that is “new” about this case: New Era.
                   9 Specifically, Plaintiffs informed Defendants that they intend to serve the following
               10 discovery on Ticketmaster and Live Nation:
               11                  • Five document requests, including: “all documents that refer or
               12                     relate to mass arbitration” (RFP No. 4), and “all documents that refer
               13                     or relate to your decision to update your Terms of Use to change the
               14                     designated ADR forum from JAMS to New Era ADR” (RFP No. 5).
               15                     O’Mara Decl. Ex. B.
               16                  • A Rule 30(b)(6) deposition notice covering the same five topics as
               17                     the document requests. Id. Ex. C.
               18           Plaintiffs also informed Defendants that they intend to serve the following on
               19 New Era—a third party who, to be clear, is not affiliated with Defendants in any
               20 way, and is not (nor has ever been) represented by Defendants’ counsel:
               21                  • Ten document requests, including: “all … communications with
               22                     Defendants and/or Latham & Watkins” (RFP No. 1); “all drafts of
               23                     your Rules and Procedures” (RFP No. 4); “all drafts of your Terms
               24                     and Conditions” (RFP No. 5); “all documents used to advertise New
               25                     Era ADR” (RFP No. 6); “all documents used in connection with
               26                     your efforts to raise capital” (RFP No. 7); all subscription
               27                     agreements (RFP No. 8); detailed consumer arbitration data,
               28                     including, for every New Era arbitration, the prevailing party, the
                                                                                 DEFS.’ OPP’N TO PLS.’ MOT. FOR
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                   1                  amount of the claim and any award, and the arbitrator’s total fees
                   2                  (RFP No. 9); and “all documents that refer or relate to mass
                   3                  arbitration” (RFP No. 10). O’Mara Decl. Ex. D.
                   4               • A Rule 30(b)(6) deposition subpoena, spanning essentially the same
                   5                  topics as the document requests. Id. Ex. E.
                   6        Since the purported grounds for all of this discovery are Plaintiffs’ various
                   7 attacks against New Era, it is important to take a step back and understand what New
                   8 Era is—and why Plaintiffs’ counsel do not like it.
                   9        C.     New Era
               10           Over the years, Defendants have revised their Terms from time to time, and
               11 last year, Defendants updated their Terms to select New Era as the default arbitration
               12 provider; by contrast, the prior version of the Terms selected JAMS. ECF No. 31
               13 ¶¶ 27-28; compare, e.g., ECF No. 31-29, with ECF No. 31-31. Otherwise, the core
               14 provisions of the current Terms are substantially the same as prior versions enforced
               15 by this Court and others: like those prior versions, the current Terms provide for
               16 binding, individual arbitration, state that the arbitration agreement is governed by
               17 the Federal Arbitration Act (“FAA”), and delegate the power to decide arbitrability
               18 to the arbitrator. Compare ECF Nos. 31-29 & 31-30, with ECF Nos. 31-31 to 31-
               19 40. The primary difference is the arbitration provider: New Era instead of JAMS.
               20           JAMS’s rules and procedures are designed for traditional, one-off
               21 arbitrations—for example, where one consumer brings claims against a company in
               22 a standalone case. But there is a new and increasingly common trend in arbitration:
               23 mass individual arbitrations, in which hundreds or thousands (and sometimes tens
               24 of thousands) of individual, but otherwise identical, claims are brought in arbitration.
               25 Keller Lenkner, Plaintiffs’ counsel in this case, pioneered this strategy—starting first
               26 with mass numbers of employment claims, and expanding more recently to mass
               27 numbers of consumer claims. See Defs.’ Mot. to Compel Arb. at 8 n.6. JAMS,
               28 however, does not have any rules or procedures in place for mass individual
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                   1 arbitrations, employment or consumer.1          How will thousands of individual
                   2 arbitrations be administered and actually arbitrated—and on what timeline? How
                   3 will arbitrators for so many cases be appointed? How will discovery be conducted?
                   4 Will there be a process to avoid inconsistent rulings on common issues? What fees
                   5 should be assessed when there are thousands of nearly identical claims?2 There are
                   6 no rules or procedures in place to answer these questions. As a result, the parties
                   7 involved in mass individual arbitrations end up embroiled in contentious
                   8 negotiations over how to conduct discovery and arbitrate the claims (e.g., bellwether
                   9 arbitrations, consolidation, etc.), over the number and type of arbitrators, and over
               10 whether the typical fees should be modified. Those negotiations can last for months,
               11 even years. Adjudication of claims on the merits is, at best, delayed and sometimes
               12 never occurs at all.3
               13           New Era, founded in 2020, stepped in to fill the void. Unlike other arbitration
               14 providers, it offers comprehensive rules and procedures to administer and adjudicate
               15 both traditional, standalone arbitrations and mass individual consumer arbitrations
               16 efficiently—and to conclusion, on the merits. The rules and procedures for mass
               17
                      1
               18            As of the date of filing, none of the old establishment arbitration providers
                      (JAMS, AAA, CPR) have adopted pre-established rules and procedures for
               19     administering mass individual arbitrations of consumer claims (like the ones asserted
                      by Plaintiffs here). CPR does offer special rules and procedures for mass arbitrations
               20     of employment claims, but those rules and procedures do not apply to consumer
                      claims. See ECF No. 30-3 ¶ 4; ECF No. 30-6.
               21     2
                             JAMS’s rules, for example, require an up-front filing fee of $1,750 for each
               22     case, regardless of whether it’s a standalone or one of 10,000 individual (but
                      otherwise identical) cases filed at the same time. See JAMS Arbitration Schedule of
               23     Fees and Costs, www.jamsadr.com/arbitration-fees (last visited Apr. 26, 2022). In
                      either case, the company pays $1,500 of the fee, and the claimant pays $250 (unless
               24     the claimant can demonstrate an inability to pay, in which case the company pays
                      the entire $1,750). Id.; JAMS Consumer Arbitration Minimum Standards,
               25     www.jamsadr.com/consumer-minimum-standards/ (last visited Apr. 26, 2022).
                      Multiply those numbers by thousands of arbitrations, and the upfront fees (to say
               26     nothing of the administration fees, all paid by the company) quickly become
                      astronomical, making the prospect of arbitrating the cases on the merits a dim one.
                      3
               27            See, e.g., Defs.’ Mot. to Compel Arb. at 9 n.9 (providing examples of mass
                      arbitrations in which the parties spent nine months and 1.5 years, respectively, trying
               28     to work out mass arbitration procedures, only to have the cases voluntarily
                      dismissed—with no adjudication on the merits).
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                   1 arbitrations apply where the presiding neutral determines that more than five
                   2 arbitrations have been filed that present common issues. O’Mara Decl. Ex. A, New
                   3 Era Rules 2(x), 6(b) (the “New Era Rules”).4 In such cases, the arbitrations will be
                   4 subject to a bellwether process which (as explained in Defendants’ motion to compel
                   5 arbitration, ECF No. 30-1 at 15-20) mirrors the process routinely used by federal
                   6 courts in multi-district litigations.5 See New Era Rules 6(b)(ii)(1) & 6(b)(iii)(3).
                   7         New Era offers two pricing options for its services: (1) a “pay as you go”
                   8 option, where, for each arbitration filed, the company pays $9,500 and the consumer
                   9 pays $500, New Era Rules 1(a)(ii), 6(a)(iii)(1)(c); or (2) a subscription option, which
               10 consists of an annual subscription fee (paid by the company), plus a reduced per-
               11 case filing fee (i.e., $300 instead of $500), New Era Rule 1(e)(i). The New Era Rules
               12 provide an example of how these two options compare: if 100 mass individual
               13 arbitrations were filed with New Era, a non-subscribing company would be charged
               14 $950,000 (100 x $9,500), and each claimant would pay a $500 fee; by contrast, a
               15 subscribing company with a $250,000 annual subscription would pay its $250,000
               16 subscription fee, and each claimant would pay a reduced fee of $300. New Era Rules
               17 1(e)(i)(5), 1(a)(ii), 6(a)(iii)(1)(d). Defendants have a subscription with New Era.
               18            So, what’s the problem? The problem, Plaintiffs claim, is that New Era
               19 “eliminates their ligation rights,” in particular all rules, process, procedure, and
               20 discovery. See Mot. at 8, 4-5, 10-12. That’s objectively false, as a review of the
               21 New Era Rules makes clear. See New Era Rules; see also infra Section III.B.2.c;
               22 Defs.’ Mot. to Compel Arb. at 15-20. The real problem, from Plaintiffs’ perspective,
               23
                       4
                         The neutral is selected by the parties using a rank-and-strike process. See New
               24 Era Rules  2(j) & 6(b)(iii). New Era neutrals are members of the National Academy
                  of Distinguished  Neutrals, which accepts only professional neutrals who are referred
               25 by at least two current  members and have arbitrated at least 20 civil cases to final
                  award  or mediated  at least
               26 www.neweraadr.com/neutrals/  200 private civil disputes. Our Neutrals, New Era ADR,
                                                      (last visited Apr. 26, 2022); Membership
                  Requirements,
               27 5               www.nadn.org/membership        (last visited Apr. 26, 2022).
                         New Era’s bellwether process also mirrors the process that Plaintiffs’ own
               28 counsel in this case have proposed for other mass arbitrations. See Defs.’ Mot. to
                  Compel Arb. at 19-20; ECF No. 30-5.
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                   1 is not that New Era has eliminated any rights, rules, or procedures that they would
                   2 otherwise have at JAMS or other arbitration providers; it’s that New Era, unlike
                   3 JAMS and other arbitration providers, actually has rules and procedures to
                   4 administer and adjudicate mass individual consumer arbitrations on the merits. The
                   5 mass arbitration strategy, pioneered by Plaintiffs’ counsel in this case, capitalizes on
                   6 the fact that those other arbitration providers do not have pre-established rules and
                   7 procedures in place to deal with the circumstance in which the same plaintiffs’
                   8 counsel seeks to bring thousands of individual consumer claims. Plaintiffs prefer
                   9 that situation, because the resulting chaos gives them outsized settlement leverage,
               10 right out of the gate. But that preference has absolutely nothing to do with whether
               11 New Era’s rules and procedures are fair and impartial; it only concerns a perceived
               12 tactical advantage for Plaintiffs’ counsel. If the concern was about facilitating the
               13 arbitration of mass claims in a fair and impartial forum—and reaching an efficient
               14 resolution on the merits—there would be no complaint about New Era whatsoever.
               15 New Era makes the actual arbitration of mass claims more feasible, exactly as the
               16 Federal Arbitration Act intends. See Defs.’ Mot. to Compel Arb. at 15-20. As the
               17 New Era Rules make clear, they are not lesser than what is offered by JAMS and
               18 others; they are a material improvement.
               19 III.       ARGUMENT
               20            A.    The Proposed Discovery Solely Pertains to Enforceability Issues
               21                  That Are Clearly and Unmistakably Delegated to the Arbitrator
               22            Plaintiffs do not seek any discovery related to assent or constructive notice;
               23 instead, Plaintiffs seek broad discovery targeted at their claim that the use of New
               24 Era as the arbitration provider is somehow unconscionable—and renders the Terms
               25 unenforceable. But this Court has already determined, multiple times, that the Terms
               26 are “clear and unmistakable” in delegating enforceability issues to the arbitrator, not
               27
               28
                                                                                  DEFS.’ OPP’N TO PLS.’ MOT. FOR
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                   1 the Court. Oberstein, 2021 WL 4772885, at *7; Dickey, 2019 WL 9096443, at *8.6
                   2 Because “the delegation clause clearly and unmistakably delegates arbitrability to
                   3 the arbitrator, the Court’s unconscionability inquiry is limited to the delegation
                   4 clause instead of the arbitration clause as a whole.” Oberstein, 2021 WL 4772885,
                   5 at *8. Thus, the only unconscionability challenge that the Court may entertain is a
                   6 challenge to whether the delegation clause itself is unconscionable. And the only
                   7 discovery that might arguably be relevant to such a challenge would be specifically
                   8 targeted at the delegation clause.
                   9        But none of the requested discovery pertains to the delegation clause, and
               10 Plaintiffs’ motion makes clear that their unconscionability arguments likewise are
               11 not specific to the delegation clause; rather, they plainly relate to the arbitration
               12 agreement as a whole. See, e.g., Mot. at 9-10 (arguing that New Era is a partial
               13 forum, without reference to the delegation clause); id. at 10-12 (arguing that New
               14 Era improperly limits discovery, without reference to the delegation clause); id. at
               15 12-13 (arguing that the Terms were “drafted in bad faith,” without reference to the
               16 delegation clause); id. at 13 (discussing “discovery into the unconscionability of
               17 arbitration provisions”—not the delegation clause).
               18           Even if, by some stretch, these arguments could somehow apply to the
               19 delegation clause, the law is clear that Plaintiffs’ failure to specifically direct them
               20 to the delegation clause bars the Court from addressing them. See Rent-A-Center,
               21 West, Inc. v. Jackson, 561 U.S. 63, 74 (2010) (holding that a court cannot consider
               22 an unconscionability challenge—including one based on “limitations on discovery”
               23 in arbitration—unless the plaintiff argues that “as applied to the delegation
               24 provision” it renders “that provision unconscionable”) (emphases in original).
               25
               26      6
                        See also Lee v. Ticketmaster L.L.C., No. 18-cv-05987, 2019 WL 9096442, at
               27 *1 (N.D. Cal. Apr. 1, 2019), aff’d, 817 F. App’x 393 (9th Cir. 2020); Himber v. Live
                  Nation Worldwide, Inc., No. 16-CV-5001, 2018 WL 2304770, at *5 (E.D.N.Y. May
               28 21, 2018); Nevarez v. Forty Niners Football Co., LLC, No. 16-CV-07013, 2017 WL
                  3492110, at *11 (N.D. Cal. Aug. 15, 2017).
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                   1 Indeed, the Ninth Circuit recently held that merely “stat[ing] the delegation clause
                   2 is invalid”—as Plaintiffs do here, see Mot. at 8, 14—is not enough; instead, Rent-A-
                   3 Center “requir[es] a substantive argument that the delegation provision in and of
                   4 itself is unenforceable.” Brice v. Haynes Invs., LLC, 13 F.4th 823, 836 (9th Cir.
                   5 2021) (first emphasis added); see also id. (“A party challenging a delegation clause
                   6 via contract-wide arguments must show how the claimed deficiencies as applied to
                   7 the delegation clause render that specific agreement invalid.”) (emphasis in
                   8 original). Plaintiffs here fail to make any “substantive argument that the delegation
                   9 provision in and of itself is unenforceable.” Id. The Court therefore cannot address
               10 Plaintiffs’ unconscionability challenges; pursuant to the delegation clause, those
               11 challenges must be sent to arbitration. As a result, any discovery into those
               12 challenges in this Court would be irrelevant—and improper.
               13           In reply, Plaintiffs may argue that their claim of “forum bias” (i.e., that “New
               14 Era is a partial forum” because Defendants have a subscription, see Mot. at 8, 9-10)
               15 could conceivably apply to the delegation provision, at least enough to allow some
               16 discovery.       Under New Era’s subscription option, businesses pay an annual
               17 subscription fee in advance, covering a set number of arbitrations; this compares to
               18 the “pay as you go” model used by other arbitrations providers, such as JAMS. See
               19 New Era Rule 1(e)(i). Plaintiffs never argue that the subscription option specifically
               20 makes the delegation clause unconscionable, but the argument might be: something
               21 about this option gives New Era’s arbitrators a business incentive to rule in favor of
               22 subscribing defendants on enforceability challenges under the delegation clause.
               23 But even if Plaintiffs had made that argument (they do not), such a challenge could
               24 not support the discovery they seek. The fact that “the arbitrator has a unique self-
               25 interest in deciding that a dispute is arbitrable,” because “one party tends to be a
               26 repeat player,” does not render a delegation clause unconscionable. Tiri v. Lucky
               27 Chances, Inc., 226 Cal. App. 4th 231, 248-49 (2014). It does not, because the
               28 concern regarding arbitrator self-interest is “virtually always present with delegation
                                                                                 DEFS.’ OPP’N TO PLS.’ MOT. FOR
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                   1 clauses”; therefore, deeming it a basis for unconscionability “would be tantamount
                   2 to concluding that delegation clauses … are categorically unenforceable.” Id. at 249
                   3 (emphasis in original); see also Malone v. Superior Ct., 226 Cal. App. 4th 1551,
                   4 1569 (2014) (FAA bars reliance on the “belief that an arbitrator would be more likely
                   5 to rule on enforceability issues in favor of a ‘repeat player’ who would have further
                   6 business for an arbitrator who rules that its contract is enforceable”).
                   7         B.    No Discovery Is Needed to Determine Whether New Era’s Rules
                                   and Procedures Are Fair and Impartial
                   8
                             Even if the Court could address Plaintiffs’ unconscionability arguments, none
                   9
                       warrants discovery. The law is clear that “the ultimate question is whether” New
               10
                       Era’s rules and procedures are “fair and impartial.” McGrath, 2020 WL 6526129,
               11
                       at *10. Those rules and procedures are publicly available and speak for themselves;
               12
                       no discovery is needed to determine whether they are fair and impartial.
               13
               14                  1.     The Centerpiece of Plaintiffs’ Motion—the Discovery in
                                          Abernathy—Undermines Their Request
               15
               16            Plaintiffs rely heavily on the discovery supposedly allowed in Abernathy v.
               17 DoorDash, Inc., No. 3:19-cv-7545 (N.D. Cal.), claiming that the court there
               18 “ordered precisely the kind of discovery that Plaintiffs here seek.” Mot. at 13; see
               19 also id. at 6-7. But Plaintiffs—whose counsel in this case also represented the
               20 plaintiffs in Abernathy—omit two key facts, of which they surely are aware. First,
               21 much of the (virtually identical) discovery that Plaintiffs seek here was denied in
               22 Abernathy. And second, the supposedly damning discovery that was “uncovered”
               23 in Abernathy was ultimately irrelevant to the question of forum bias; what mattered
               24 was what the rules and procedures said. Far from supporting Plaintiffs’ motion,
               25 Abernathy establishes that the discovery would be wasteful and unwarranted.
               26            Abernathy involved DoorDash’s decision to switch from AAA to CPR as the
               27 arbitration provider in its agreements with Dashers. Specifically, DoorDash required
               28 claimants actively pursuing arbitrations before AAA to sign a new arbitration
                                                                                  DEFS.’ OPP’N TO PLS.’ MOT. FOR
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                   1 agreement, in order to continue working for DoorDash. Abernathy, ECF No. 10.
                   2 That new agreement specified that the arbitrations would be conducted by a different
                   3 provider—CPR—pursuant to CPR’s new protocol for mass employment claims,
                   4 which was allegedly drafted by DoorDash’s lawyers at Gibson Dunn. Id. The
                   5 plaintiffs sought a temporary restraining order against enforcement of that arbitration
                   6 agreement.     Id.   At the hearing, the court ordered limited discovery: (1) one
                   7 Rule 30(b)(6) deposition of CPR, and (2) CPR’s “communications with Gibson
                   8 Dunn, with DoorDash, to show how the [employment mass claims] rule got written.”
                   9 O’Mara Decl. Ex. F 65:2-9, 66:17-19. But when the plaintiffs served CPR with a
               10 Rule 30(b)(6) notice and document requests, they sought discovery that was
               11 significantly broader than what the court had ordered—and that is virtually identical
               12 to what Plaintiffs seek here. The Abernathy court quashed those discovery requests.
               13            For example, the Abernathy plaintiffs requested: “documents … that
               14 summarize the total number of arbitrations … administered by CPR each year” (RFP
               15 No. 4); “all internal CPR documents … that refer to mass claims or mass
               16 arbitrations” (RFP No. 5); “all communications among CPR employees, staff, or
               17 agents that refer to mass claims” (RFP No. 6); “all drafts, versions, and mark-ups of
               18 the Employment-Related Mass Claims Protocol” (RFP No. 8); “all communications
               19 … that refer to the Mass Claims Protocol … [and] any draft of it” (RFP No. 9); and
               20 “all documents … that refer to the Mass Claims Protocol … [and] any draft of it”
               21 (RFP No. 10). O’Mara Decl Ex. G. This is the same discovery Plaintiffs now seek
               22 from New Era. See id. Ex. D (RFP No. 4: “all drafts of your Rules and Procedures”;
               23 RFP No. 5: “all drafts of your Terms and Conditions”; RFP No. 9: detailed consumer
               24 arbitration data, including the total number of consumer arbitrations; RFP No. 10:
               25 “all documents that refer or relate to mass arbitration”; etc.). The Abernathy court
               26 quashed all of these document requests and the Rule 30(b)(6) notice as “overbroad”
               27 and “grossly beyond the pale,” ultimately allowing only (1) a single 30(b)(1)
               28 deposition of the individual at CPR in charge of creating the employment mass
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                   1 claims protocol, and (2) communications among CPR, DoorDash, and Gibson Dunn.
                   2 See id. Ex. H 16:12-18:17, 18:24-25. That’s it. There was no discovery from
                   3 DoorDash at all, and certainly no discovery from CPR on issues as broad as “all
                   4 drafts of” CPR’s protocol, “all documents used to advertise” CPR, “all documents
                   5 used in connection with” CPR’s “efforts to raise capital,” or “all documents that refer
                   6 or relate to mass arbitration.” Compare id. Exs. D, E.
                   7         Plaintiffs are right about one thing: the discovery they seek is “identical” to
                   8 the discovery their counsel sought in Abernathy. See Mot. at 7. The only problem
                   9 is that the Abernathy court denied virtually all of that identical discovery. The Court
               10 here should do the same.
               11            Moreover, while Plaintiffs discuss—at length—the supposedly damning
               12 evidence that was “uncovered” through discovery in Abernathy, they fail to inform
               13 the Court of what actually happened when a court finally considered that evidence
               14 and ruled on the forum bias question—i.e., whether CPR was a “partial” forum. That
               15 question was decided in McGrath v. DoorDash, where a proposed class of Dashers
               16 argued that their claims were not subject to arbitration because CPR’s protocol for
               17 mass employment claims “deprive[d] Dashers from a fair and impartial forum”
               18 given “evidence that DoorDash worked together with CPR to create the [protocol],
               19 as indicated through discovery taken in [Abernathy].” 2020 WL 6526129, at *9.
               20 The court held that, whatever the discovery showed about DoorDash or Gibson
               21 Dunn’s involvement in the development of CPR’s protocol, it ultimately did not
               22 matter, because “the ultimate question is whether the Protocol is fair and
               23 impartial—i.e., one that is not predisposed more favorably to Gibson Dunn, its
               24 clients (including DoorDash), or defendants generally compared to other generally
               25 accepted conventional arbitration rules.” Id. at *10 (emphasis added). Examining
               26 the process set forth in the protocol, the court was “hard pressed to see any such
               27 catering or favoritism.” Id. Specifically, the protocol would not “result in significant
               28 delay in resolution of the Dashers’ claims,” and “the terms of the [protocol] appear
                                                                                  DEFS.’ OPP’N TO PLS.’ MOT. FOR
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                   1 fair.” Id. The court therefore rejected the plaintiffs’ claims of partiality. Id. at *11.
                   2         Applying McGrath here, none of the requested discovery is proper. Another
                   3 nine-month discovery detour, as we had in Oberstein, is completely unnecessary—
                   4 and, ultimately, irrelevant—because, in order to determine whether New Era’s rules
                   5 and procedures are fair and impartial, the Court need only look at those publicly
                   6 available rules and procedures. At the very least, there is no basis or precedent7 for
                   7 any discovery beyond what was actually allowed in Abernathy: a single 30(b)(1)
                   8 deposition and production of any communications between New Era and Defendants
                   9 or their lawyers regarding how New Era’s mass arbitration rules got written.
               10                   2.    None of the Alleged “Reasons” Why New Era Is a “Partial
               11                         Forum” Supports the Requested Discovery
               12            Plaintiffs make a number of outlandish claims about New Era in an effort to
               13 characterize it as a “partial forum.” Mot. at 1-2, 9-10. Most of them are objective
               14 mischaracterizations; others are based on nothing more than Plaintiffs’ counsel’s
               15 own “information and belief.” None justifies the requested discovery.
               16
               17      7
                         Like Abernathy, none of the other cases Plaintiffs cite support the discovery
               18 they seek. See Mot. at 9-10, 13-14; Hamby v. Power Toyota Irvine, 798 F. Supp. 2d
                  1163, 1164 (S.D. Cal. 2011) (defendant did not challenge the discovery sought);
               19 Coneff v. AT&T Corp., No. C 06-0944, 2007 WL 738612, at *3 (W.D. Wash. Mar. 9,
                  2007) (allowing discovery on formation and assent but not unconscionability);
               20 O’Brien v. Am. Exp. Co., No. 11-CV-1822, 2012 WL 1609957, at *1 n.1 (S.D. Cal.
                  May 8, 2012) (reaching the merits of plaintiff’s request for discovery related to
               21 unconscionability only because, there, “the question of arbitrability [was] not
                  reserved for an arbitrator to decide”) (emphasis added); Newton v. Clearwire Corp.,
               22 No. 2:11-CV-00783, 2011 WL 4458971, at *1-2, *7 (E.D. Cal. Sept. 23, 2011)
                  (allowing interrogatories on the number of prior arbitrations initiated against
               23 defendant but denying requests for documents related to defendant’s internal policies
                  and procedures regarding arbitration); Cheng-Canindin v. Renaissance Hotel
               24 Assocs., 50 Cal. App. 4th 676, 679, 688, 691 (1996) (nothing to do with arbitration-
                  related discovery; plaintiff did not agree to arbitrate, but rather to participate in
               25 “internal problem solving procedure” in which “[e]veryone involved in the decision
                  making process is employed by, selected by, and under the control of the
               26 [defendant]”); Graham v. Scissor-Tail, Inc., 28 Cal. 3d 807, 821, 826-28 (1981) (no
                  discussion of arbitration-related discovery; arbitration agreement designated
               27 defendant’s union—of which plaintiff was not a member—as sole arbitrator); Lopez
                  v. Ace Cash Exp., Inc., No. LA CV 11-04611, 2012 WL 1655720, at *7 (C.D. Cal.
               28 May 4, 2012) (finding arbitration agreement was not substantively unconscionable;
                  nothing to do with arbitrator bias or arbitration-related discovery).
                                                                                   DEFS.’ OPP’N TO PLS.’ MOT. FOR
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                   1                     a.     New Era’s Subscription Option
                   2         Plaintiffs claim that New Era must be biased—and that they are therefore
                   3 entitled to explore that bias in discovery—because it collects from Defendants an
                   4 “up-front, annual retainer fee” of $350,000 that constitutes “most if not all of New
                   5 Era’s revenue.” Mot. at 2, 5-6, 10. This claim is meritless and cannot support
                   6 Plaintiffs’ request for discovery.
                   7         As an initial matter, Plaintiffs’ claims regarding New Era’s “direct financial
                   8 dependence on Defendants” are directly contradicted by their own papers. Id. at 5.
                   9 Exhibit A to their motion states that New Era initially launched “with around
               10 10 clients” and has since been “written into dispute resolution clauses in nearly 700
               11 contracts.” ECF No. 34-2 (emphases added). Defendants plainly are by no means
               12 New Era’s only source of business.
               13            Moreover, California law is clear that “the belief that arbitrators might over
               14 time be biased toward the repeat players that bring them business” is not a basis for
               15 finding an arbitration agreement unconscionable. Sandquist v. Lebo Auto., Inc., 1
               16 Cal. 5th 233, 259 (2016). Courts may not presume “that arbitrators are ill-equipped
               17 to disregard such institutional incentives and rule fairly and equitably,” because “the
               18 FAA requires that [they] treat arbitration as a coequal forum for dispute resolution.”
               19 Id.; see also Gilmer v. Interstate/Johnson Lane Corp., 500 U.S. 20, 30 (1991)
               20 (declining “to indulge the presumption that the parties and arbitral body conducting
               21 a proceeding will be unable or unwilling to retain competent, conscientious and
               22 impartial arbitrators”).
               23            Nothing about New Era’s subscription option changes this analysis. To be
               24 clear, New Era’s role is administrative; New Era does not make any substantive
               25 determinations in the arbitrations it administers. See, e.g., New Era Rule 2(x)(ii)(2)
               26 (“New Era ADR makes no determination with respect to issues of law and fact.”).
               27 The neutral, not New Era, decides all substantive issues, including whether
               28 individual arbitrations present common issues such that the mass arbitration rules
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                   1 should apply. See New Era Rules 2(x)(ii)(2), 6(b)(ii)(2). There is absolutely no
                   2 basis to presume that New Era’s experienced, qualified neutrals (who are members
                   3 of the National Academy of Distinguished Neutrals) cannot rule fairly and equitably.
                   4 See Sandquist, 1 Cal. 5th at 259. And any purported incentives associated with New
                   5 Era’s subscription option are the same as the incentives at play every time a company
                   6 specifies an arbitration provider in its terms of use. When a company agrees with
                   7 consumers in its terms of use to arbitrate disputes at a particular arbitration provider,
                   8 it is agreeing to pay that provider its applicable fees for any arbitrations brought
                   9 under those terms, essentially keeping the provider “on retainer.” Compl. ¶ 3. That
               10 is exactly the case here; the only difference is that New Era offers companies the
               11 predictability of an annual up-front fee, compared to the variability of the “pay as
               12 you go” model.
               13            Any “assertion that business incentives bias [New Era’s] arbitrators to repeat
               14 player defendants” who pay a subscription is flatly “inconsistent with … the FAA”
               15 and should be rejected. Shoals v. Owens & Minor Distrib., Inc., No. 2:18-CV-2355,
               16 2018 WL 5761764, at *6 (E.D. Cal. Oct. 31, 2018). As such, it cannot form the basis
               17 for the discovery that Plaintiffs seek.
               18                         b.     Purported Arbitrator “Stakes” in New Era
               19            Plaintiffs also point to a purported statement, made by an unidentified person,
               20 that certain New Era arbitrators have “a small stake in New Era from their service
               21 as advisors to [the] company.” ECF No. 35 ¶ 10; see also Mot. at 6. Plaintiffs do
               22 not provide any source for this purported statement; instead, they submit a
               23 declaration from their own counsel, based solely on counsel’s “information and
               24 belief.”       See ECF No. 35.        The Court should disregard this in its entirety.
               25 “[I]nformation and belief declarations from [a party’s] counsel … [are] entitled to
               26 no weight because the declarant [does] not have personal knowledge.” Bank Melli
               27 Iran v. Pahlavi, 58 F.3d 1406, 1412-13 (9th Cir. 1995); see also C.D. Cal. L.R. 7-7
               28 (“Declarations shall contain only factual, evidentiary matter and shall conform as far
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                   1 as possible to the requirements of [Fed. R. Civ. P.] 56(c)(4)”—i.e., they “must be
                   2 made on personal knowledge, set out facts that would be admissible in evidence, and
                   3 show that the affiant or declarant is competent to testify on the matters stated.”).8
                   4         In any event, nothing about the accusation Plaintiffs are trying to make here
                   5 moves the needle. Arbitrator ownership in an arbitration shop is common—and
                   6 certainly not disqualifying. For instance, one-third of the 400 neutrals at JAMS have
                   7 an ownership share in the company.9 “This ownership interest … is … substantial.”
                   8 Monster Energy Co. v. City Beverages, LLC, 940 F.3d 1130, 1136 (9th Cir. 2019).
                   9 To illustrate: with $200 million in annual revenue, even if no owner’s distribution
               10 exceeds 0.1%, individual JAMS arbitrators may earn as much as $200,000 annually
               11 as co-owners of the company.10 Nevertheless, as long as the neutral’s ownership
               12 interest is disclosed prior to the arbitration, it is not improper for a neutral to have
               13 an ownership stake in the company. See Monster Energy Co., 940 F.3d at 1137
               14 (arbitrator’s ownership interest in JAMS “does not require automatic
               15 disqualification or recusal—only disclosure”); see also New Era Rule 2(k) (requiring
               16 neutrals to disclose actual or potential conflicts of interest). Pursuant to New Era’s
               17 Rules, Plaintiffs will learn, prior to any arbitration, whether the assigned neutral has
               18 an ownership interest in New Era; no discovery on this issue is necessary or
               19 appropriate. And imagine if Plaintiffs’ accusation was a free ticket to discovery:
               20
               21      8
                        The Court should strike paragraphs 2, 3, 4, 6, 8, 9, and 10 of the Pak
               22 declaration, each of which makes additional claims about New Era—and each of
                  which is based in whole or in part on “information and belief.” ECF No. 35.
               23 9     Focus on Neutrality: What You Need to Know About JAMS, JAMS ADR
                  Insights, https://www.jamsadr.com/blog/2020/focus-on-neutrality-what-you-need-
               24 to-know-about-jams   (last visited Apr. 26, 2022).
                       10
               25        Neal Koch, How Mediation Firm JAMS Became the Dominant Player in the
                  LA Market, Los Angeles Bus. J., https://labusinessjournal.com/services/law-legal-
               26 attorneys/how-mediation-firm-jams-became-dominant-player/ (last visited Apr. 26,
                  2022) (JAMS has approximately $200 million in annual revenue); Focus on
               27 Neutrality: What You Need to Know About JAMS, JAMS ADR Insights,
                  https://www.jamsadr.com/blog/2020/focus-on-neutrality-what-you-need-to-know-
               28 about-jams (last visited Apr. 26, 2022) (“[N]o owner’s distribution has exceeded
                  0.1% of total revenue in a given year.”).
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                   1 every arbitration agreement selecting JAMS (to take one example) would be subject
                   2 to the kind of sprawling discovery Plaintiffs hope to get here.         That plainly
                   3 contravenes the FAA, which “calls for a summary and speedy disposition of
                   4 motions … to enforce arbitration clauses.” Moses H. Cone Mem’l Hosp. v. Mercury
                   5 Constr. Corp., 460 U.S. 1, 29 (1983).
                   6                c. The Abandoned Trademark Application
                   7        Plaintiffs also repeatedly point to a trademark application from 2019 to
                   8 support their claim that New Era “removes discovery, motion practice and almost
                   9 the entirety of all rules, process and procedure.” Mot. at 1-2, 4-5. Tellingly,
               10 Plaintiffs fail to inform the Court that this trademark application (1) was initiated
               11 long before New Era was even founded as a company, let alone actually launched
               12 its ADR services, and (2) was subsequently abandoned.
               13           Moreover, the premise here is obviously false, and borders on frivolous. The
               14 Court need only look at New Era’s extensive rules and procedures to see that they
               15 do, in fact, have rules, process, and procedures—31 pages of them, in fact. See New
               16 Era Rules. Indeed, in at least one respect, New Era has more rules and procedures
               17 than other providers: unlike JAMS, AAA, CPR, etc., New Era has a set of
               18 comprehensive procedures to litigate consumer mass arbitrations on the merits. New
               19 Era Rule 6(b). And contrary to Plaintiffs’ assertions, the New Era Rules expressly
               20 allow for streamlined discovery and some motion practice, among many other
               21 things. See id. Rules 2(o), 2(r). Stated simply, New Era’s Rules say what they say,
               22 and discovery is clearly unnecessary for the Court to determine whether they allow
               23 for adequate discovery. Plaintiffs’ cherry-picked quotation from an abandoned
               24 trademark application that long predates the existence of the company as it actually
               25 launched cannot overcome this fact, and is clearly not a basis for discovery.11
               26
                       11
               27        Plaintiffs’ arguments about New Era’s alleged “bias” not only are wrong on
                  the merits, but also are premature. “It is well established that a district court cannot
               28 entertain an attack upon the … partiality of arbitrators until after the conclusion of
                  the arbitration and the rendition of an award.” Serv. Partners, LLC. V. Am. Home
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                   1                     d.    New Era’s Rules Allow for Discovery Consistent with
                                               Industry Standards
                   2
                   3        Finally, Plaintiffs argue that the limitations on discovery in New Era’s Rules
                   4 should give them wide-ranging discovery in this Court. Again, Plaintiffs’ argument
                   5 is grounded in mischaracterizations of both the New Era Rules on discovery and the
                   6 law regarding discovery in arbitration.12
                   7        The New Era Rules provide that, because “limitations on discovery are one of
                   8 the primary ways efficiencies are achieved in arbitration, … discovery must be
                   9 narrowly tailored only to the information necessary to advancing a neutral’s
               10 understanding of the case.” New Era Rule 2(o)(i). “Any request for discovery must
               11 be submitted to the neutral, at which point the neutral has discretion to determine
               12 whether it should be allowed or not.” New Era Rule 2(o)(iii). Further, “if a party
               13 believes an opposing party has relevant or necessary evidence that they are not
               14 disclosing, they can make a request to the neutral that such evidence be provided or
               15 disclosed,” and the neutral will determine whether “good cause for the production
               16 exists.” New Era Rule 2(q)(i). The New Era Rules also provide for a document
               17 exchange process, pursuant to which the neutral may allow additional exchanges “as
               18 necessary to ensure a fundamentally fair process.” New Era Rule 6(a)(vii)-(viii).
               19           Contrary to Plaintiffs’ assertions, New Era’s Rules are consistent with the
               20 well-established principle that “[l]imited discovery rights are the hallmark of
               21
               22 Assurance   Co., No. CV-11-01858, 2011 WL 2516411, at *5 (C.D. Cal. June 20,
                  2011) (emphasis added); see also 9 U.S.C. § 10(a)(2) (FAA allows a party to an
               23 arbitration to petition a court to vacate the award “where there was evident partiality
                  or corruption in the arbitrators”). If Plaintiffs “suspect[] that [a New Era] arbitrator
                  will be impartial,” the “remedy available … is to seek to vacate the award after it is
               24 rendered.”   Serv. Partners, 2011 WL 2516411, at *5. No pre-arbitration discovery
                  is
               25 12 appropriate.
                         As with their other arguments, Plaintiffs make no effort to apply any purported
               26 discovery limitation to the delegation clause; again, this is fatal to their motion. See
                  supra Section III.A. Indeed, the Supreme Court held in Rent-A-Center that it could
               27 not consider the very argument that Plaintiffs make here—i.e., an unconscionability
                  challenge based on “limitations on discovery” in arbitration—because the plaintiff
               28 in that case (like Plaintiffs here) had not specifically applied that argument to the
                  delegation clause. Rent-A-Center, 561 U.S. at 74.
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                   1 arbitration.” Coast Plaza Drs. Hosp. v. Blue Cross of Cal., 83 Cal. App. 4th 677,
                   2 689-90 (2000). Indeed, New Era’s reasonable limits on discovery are exactly what
                   3 arbitration is supposed to be: “a streamlined procedure.” Dotson v. Amgen, Inc., 181
                   4 Cal. App. 4th 975, 983 (2010) (“[D]iscovery limitations are an integral and
                   5 permissible part of the arbitration process.”); see also, e.g., Poublon v. C.H.
                   6 Robinson Co., 846 F.3d 1251, 1270 (9th Cir. 2017) (“The California Supreme Court
                   7 has made clear that limitation on discovery is one important component of the
                   8 simplicity, informality, and expedition of arbitration.”). “The fact that [New Era’s
                   9 Rules] may limit a party’s discovery rights is not ‘substantive unconscionability.’ …
               10 [I]f limited discovery was grounds for unconscionability then every arbitration
               11 clause would be unconscionable.” Abeyrama v. J.P. Morgan Chase Bank, No. CV
               12 12-00445, 2012 WL 2393063, at *4 (C.D. Cal. June 22, 2012).13
               13           Courts therefore routinely uphold arbitration discovery rules—like New
               14 Era’s—that give the arbitrator discretion to control discovery. See, e.g., Roman v.
               15 Superior Ct., 172 Cal. App. 4th 1462, 1475-76 (2009) (upholding AAA rule
               16 allowing the arbitrator “to order such discovery … as the arbitrator considers
               17 necessary to a full and fair exploration of the issues in dispute, consistent with the
               18 expedited nature of the arbitration”); Dotson, 181 Cal. App. 4th at 984 (“[T]he
               19 agreement gives the arbitrator the broad discretion contemplated by the AAA rules
               20 to order the discovery needed to sufficiently litigate the parties’ claims.”); Yeomans
               21 v. World Fin. Grp. Ins. Agency, Inc., 485 F. Supp. 3d 1168, 1188-89 (N.D. Cal. 2020)
               22
               23     13
                         Not surprisingly given that streamlined discovery is the “hallmark” of
               24 arbitration, JAMS and AAA also limit discovery. See, e.g., JAMS Arbitration
                  Discovery Protocols, available at https://www.jamsadr.com/arbitration-discovery-
               25 protocols/ (last visited Apr. 26, 2022) (arbitrator must be “sufficiently assertive to
                  ensure that an arbitration will be resolved much less expensively and in much less
               26 time that if it had been litigated in court”; “the arbitrator will set meaningful
                  limitations” on discovery); AAA Consumer Arbitration Rule R-22(a), available at
               27 https://adr.org/sites/default/files/Consumer%20Rules.pdf (last visited Apr. 26,
                  2022) (“If any party asks or if the arbitrator decides on his or her own, keeping in
               28 mind that arbitration must remain a fast and economical process, the arbitrator may
                  direct” exchange of documents and identification of witnesses).
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                   1 (rejecting argument that “the arbitration agreement is substantively unconscionable
                   2 because ‘the [agreement] only provides for discovery at the arbitrator’s discretion’”);
                   3 Abeyrama, 2012 WL 2393063, at *4 (limitations on discovery “are generally legal
                   4 if either party can ask the arbitrator to expand discovery for good cause”).14
                   5         Neither of the cases cited by Plaintiffs—Fitz or O’Hanlon—changes the
                   6 analysis. Mot. at 12. In Fitz, arbitrator discretion over discovery was an “inadequate
                   7 safety valve” only because “the arbitrator [was] constrained by an ‘impossibility’
                   8 standard.” Fitz v. NCR Corp., 118. Cal. App. 4th 702, 716-17 (2004) (rules allowed
                   9 arbitrator to grant discovery only if “a fair hearing would be impossible without” it)
               10 (emphasis in original); Carillo v. Gruma Corp., No. EDCV 16-2276, 2017 WL
               11 11631614, at *6 (C.D. Cal. Mar. 14, 2017) (distinguishing Fitz on this basis);
               12 Borgarding v. JPMorgan Chase Bank, No. CV 16-2485, 2016 WL 8904413, at *6
               13 (C.D. Cal. Oct. 31, 2016) (same).           And in O’Hanlon, there was no standard
               14 whatsoever to guide the arbitrator’s discretion. O’Hanlon v. JPMorgan Chase Bank,
               15 N.A., No. CV 15-06640, 2015 WL 5884844, at *6 (C.D. Cal. Oct. 7, 2015); see also
               16 Borgarding, 2016 WL 8904413, at *6 (distinguishing O’Hanlon on this basis). By
               17 contrast, courts routinely uphold the “necessary” and “fundamentally fair” standards
               18 for discovery set forth in New Era’s Rules. See, e.g., Roman, 172 Cal. App. 4th at
               19 1475-76 (upholding AAA rule allowing arbitrator “to order such discovery … as the
               20 arbitrator considers necessary to a full and fair exploration of the issues in dispute,
               21 consistent with the expedited nature of the arbitration”) (emphasis added); Colvin v.
               22 NASDAQ OMX Grp., Inc., No. 15-cv-02078, 2015 WL 6735292, at *7 (N.D. Cal.
               23 Nov. 4, 2015) (same); Scott v. AT&T, Inc., No. 19-cv-04063, 2021 WL 2839959, at
               24
                       14
               25        Plaintiffs also complain that New Era’s Terms and Conditions require users’
                  acknowledgment that, in arbitration, they “forego the presentation of certain
               26 evidence which might otherwise be available for presentation in a federal or state
                  judicial forum or through other alternative dispute resolution services.” See Mot.
               27 at 5, 11. But that’s equally consistent with the principle that “discovery limitations
                  are an integral and permissible part of the arbitration process.” Dotson, 181 Cal.
               28 App. 4th at 983. There is nothing unconscionable about having users acknowledge
                  that there are limits on discovery in arbitration.
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                   1 *6 (N.D. Cal. Feb. 16, 2021) (upholding AAA rule providing that arbitrator “may
                   2 require the parties to exchange additional information if … such ‘exchange is needed
                   3 to provide for a fundamentally fair process”) (emphasis added).
                   4         The New Era Rules governing discovery are exactly in line with other
                   5 arbitration providers’ rules on discovery and arbitrator discretion—and with what
                   6 courts have routinely blessed. How, then, can those rules be a basis for the discovery
                   7 that Plaintiffs seek here? They cannot.
                   8               3.     Severability Is Not a Basis for Discovery
                   9         Finally, Plaintiffs claim that they need discovery to support their argument
               10 that the portion of the Terms specifying New Era was “drafted in bad faith,” and so
               11 is not severable. Mot. at 12-13. Plaintiffs presumably make this argument because
               12 they know the Terms are clear that, if New Era cannot conduct the arbitration for
               13 any reason (e.g., if the selection of New Era was deemed unenforceable), the
               14 arbitration will be conducted by another arbitration provider instead: (1) FairClaims
               15 or (2) an arbitration provider mutually selected by the parties. ECF Nos. 31-29 at 9
               16 & 31-30 at 13. In other words, the case would still proceed in arbitration, just in
               17 front of a different arbitration provider. In an effort to avoid this result, and achieve
               18 the result they seek here—a class action in federal court—Plaintiffs are attempting
               19 to argue that the selection of New Era is not severable from the Terms’ arbitration
               20 agreement, and so renders the entire arbitration agreement (including the alternative
               21 selection of FairClaims, for example) unenforceable too.
               22            But severability is not a basis for discovery. Whether a contractual term in an
               23 arbitration agreement is not severable due to “bad faith” turns on whether the law
               24 was “sufficiently clear at the time the arbitration agreement was signed to lead to the
               25 conclusion that [the term] was drafted in bad faith.” Armendariz v. Found. Health
               26 Psychcare Servs., Inc., 24 Cal. 4th 83, 124 n.13 (2000). Specifically, the court asks
               27 whether “the provision was directly contrary to settled law.” Little v. Auto Stiegler,
               28 Inc., 29 Cal. 4th 1064, 1076 (2003). No discovery is required to assess “the clarity
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                   1 of the law at the time” that Plaintiffs agreed to the Terms. Gutierrez v. Autowest,
                   2 Inc., 114 Cal. App. 4th 77, 93 (2003).15 The Court need only look at the McGrath
                   3 decision upholding DoorDash’s selection of CPR and its mass claims protocol, and
                   4 the many cases upholding arbitration discovery limitations similar to New Era’s, to
                   5 say definitively that the selection of New Era was not directly contrary to the law at
                   6 the time—and thus that Defendants did not select New Era in bad faith. Plaintiffs’
                   7 argument is meritless.
                   8 IV.     CONCLUSION
                   9         The FAA “calls for a summary and speedy disposition of motions … to
               10 enforce arbitration clauses.”        Moses H. Cone Mem’l Hosp., 460 U.S. at 29.
               11 Plaintiffs’ proposed discovery would result in the opposite: an extended period of
               12 discovery into issues that—as a matter of law—have no bearing on Defendants’
               13 motion to compel arbitration. The Court should deny Plaintiffs’ motion.
               14
               15 Dated: April 27, 2022                           Respectfully Submitted,
               16                                                  LATHAM & WATKINS LLP
               17
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               22                                                  Ticketmaster L.L.C. and Live Nation
                                                                   Entertainment, Inc.
               23
               24
               25
               26
               27      15
                        Indeed, Defendants are aware of no case in which a court deemed discovery
               28 necessary to assess whether a provision in an arbitration agreement was drafted in
                  bad faith and therefore not severable.
                                                                                 DEFS.’ OPP’N TO PLS.’ MOT. FOR
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